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WAYNE E. RIDENHOUR
Lorna NlcClusky, Retained
Defense Attorney
3074 East Street
Memphis, TN 38128

 

JUDGN|ENT lN A CFt|lV||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on October 25, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Tit|e & Section Nature of Offense Offense Numberjs[
Concluded
18 U.S.C. § 2252(a)(1) Transportation of Chi|d Pomography 10/02/2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the i\/|andatory
Victims Restitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. |\lo. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 1/8/1967 April 20, 2005

Deft’s U.S. l\/larshal No.: 19484-076
CWL J. DAN|ELBREEN
lTED sTATEs olsTRicT JuDeE

Aprll Zop` , 2005

Th|s document entered on the docket set in complian a 1
with sure 55 and/or 32{£:) rach un f,jj `Z'Z>O 5 5 9

Defendant’s Mai|ing Address:
3939 Boi:)by Jones Rd.
l\/lemphis, TN 38125

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Case No: 2:04CR20075 Defendant Name: Wayne E. FilDENHOUFt, Jr. Page 2 of 5
|IV|PR|SONNIENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 12 months and 1 day.

The Court recommends to the Bureau of Prisons:
P|acement at a facility as close to |Vlemphis, Tennessee, as possib|e.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States l\/|arsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES |V|AHSHAL
By:

Deputy U.S. |Vlarsha|

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Case No: 2:04CR20075 Defendant Name: Wayne E. R|DENHOUH, Jr. Page 3 015

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling. training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall riot purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controiled substances are illegally soldl used,
distributed. or administered; The defendant shall not associate with any persons engaged in criminal
activityl and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:04CR20075 Defendant Name: Wayne E. RlDENl-iOUFt, Jr. Page 4 015

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a iaw
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

12. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal lVlonetary Penalties sheet of this judgment

ADDITIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1)The defendant shall participate in the Bureau of Prison’s sex offender treatment program.

2) The defendants employment and change of address must be approved by the probation
officer.

3) The defendant may not possess pornography

4) The defendant may not directly or indirectly have contact with any child under age 18; may
not reside with any child under 18; and may not |oiter near school yards, playgrounds, swimming
pools, arcades or other places frequented by children. This condition is ordered with the exception
of the defendants child.

5) The defendant may not use sexually oriented telephone numbers or services.

6) The defendant must abide by an evening curfew as set by the probation officer.

7) The defendant shall not possess, or use, a computer with access to any “on-line computer
service" at any location (including employment) Without the prior approval of the probation officer.
This includes any lnternet Service provider, bulletin board system or any other public or private
network or e-mail system.

8) The defendant shall cooperate in the collection of DNA.

9) The defendant shall participate in drug testing and treatment as directed by the probation

officer.

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Case No: 2:04CH20075 Defendant Name: Wayne E. R|DENHOUR, Jr. Page 5 of 5

CR|N|INAL NIONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
With the schedule of payments set forth in the Schedule of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

 

The Specia| Assessment shall be due immediately.
F|NE
No fine imposed
REST|TUT|ON

No Restitution Was orderedl

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20075 Was distributed by faX, mail, or direct printing on
Apri122, 2005 to the parties listed.

 

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

i\/lemphis7 TN 38128

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

i\/lemphis7 TN 38128

Honorable J. Breen
US DISTRICT COURT

